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                                                                           USDC SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
                                                                           DOC #:
 UNITED STATES OF AMERICA,                                                 DATE FILED: 11/6/2020
                       -against-                                     1:20-cr-160 (MKV)

 JORGE NAVARRO, et al.                                           SCHEDULING ORDER

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court has received a letter dated November 6, 2020 from the Government [ECF No.

284] requesting that the Court schedule arraignment of Defendants on the charges contained in

the Superseding Indictment (S6) filed on November 5, 2020 [ECF No. 283].

       The relief requested in the letter is granted. The Court will arraign Defendants on the

charges in the Superseding Indictment at the previously scheduled Status Conference in this case

on November 17, 2020 at 11:00AM. For the avoidance of doubt, the conference will be held on

November 17, 2020 as stated in the Court’s Order at ECF No. 241. That conference is currently

scheduled to take place in person. The Parties are directed to confer and submit a letter to the

Court on or before November 10, 2020 expressing views on whether the conference should go

forward in person or suggesting options for the conference to occur remotely. The Parties’ joint

letter should also state the Parties’ views on the legal basis for the Court to conduct the

proceeding remotely, including under the Coronavirus Aid, Relief, and Economic Security Act

of 2020 (the “CARES Act”). If the conference and arraignment is to be conducted remotely,

each party so consenting shall submit a signed waiver of right to be present at arraignment that

conforms to Federal Rule of Criminal Procedure 10 and a signed consent to proceed by video

conference.
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       It is further ordered that all time between today and November 17, 2020 is excluded for

the purposes of the Speedy Trial Act. The Court finds that the ends of justice served by allowing

time for arraignment of Defendants on the charges in the Superseding Indictment, coordination

between Defendants, their counsel, and the Government regarding logistics of the conference and

whether Defendants wish to waive personal appearance, additional production of discovery,

review of materials by Defendants, and preparation of a defense and potential motions outweigh

the interests of the public and Defendants in a speedy trial, especially in light of the continued

complications presented by the COVID-19 pandemic. Further, all Defendants have previously

consented to this exclusion of time, and several have reaffirmed that they have no objection, as

stated in the Government’s letter.

       The Clerk of Court respectfully is requested to close the motion at ECF No. 284.

SO ORDERED.


                                                      _________________________________
Date: November 6, 2020                                      MARY KAY VYSKOCIL
      New York, NY                                          United States District Judge




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